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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 JOHN D. SYARTO, individually, and on
 behalf of all others similarly situated,

      Plaintiff,

 v.                                                       Case No. 1:20-cv-01812

 DIVERSIFIED CONSULTANTS, INC.,

      Defendant.

                                   CLASS ACTION COMPLAINT

        NOW COMES Plaintiff, JOHN D. SYARTO, individually, and on behalf of all others

similarly situated, through undersigned counsel, complaining of Defendant, DIVERSIFIED

CONSULTANTS, INC. as follows:

                                     NATURE OF THE ACTION

        1.         Plaintiff is seeking redress for Defendant’s violations of the Fair Debt Collection

Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

                                    JURISDICTION AND VENUE

        2.         This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

        3.         Venue in this district is proper pursuant to 28 U.S.C. § 1391(b)(2).

                                               PARTIES

        4.         JOHN D. SYARTO (“Plaintiff”) is a natural person, over 18-years-of-age, who at

all times relevant resided in Oak Forest, Illinois.

        5.         Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

        6.         DIVERSIFIED CONSULTANTS, INC. (“Defendant”) is a corporation organized

under the laws of Florida.


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        7.      Defendant has a principal place of business at 10550 Deerwood Park Boulevard,

Suite 309, Jacksonville, Florida 32256.

        8.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6) as the principal

purpose of Defendant’s business is the collection of debt.

        9.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6) as it regularly

collects or attempts to collect debts owed or due or asserted to be owed or due another.

                                    FACTUAL ALLEGATIONS

        10.     Plaintiff obtained wireless services through Cellco Partnership d/b/a Verizon

Wireless (“Verizon”).

        11.     Plaintiff switched to another wireless service provider – leaving an unpaid balance.

        12.     Plaintiff’s unpaid balance is a “debt” as defined by 15 U.S.C. § 1692a(5).

        13.     Plaintiff’s balance – once unpaid – was referred for collection.

        14.     Weeks ago, Plaintiff started to received phone calls from Defendant.

        15.     On February 28, 2020, Plaintiff answered.

        16.     Defendant informed Plaintiff that they were seeking to collect on Plaintiff’s unpaid

Verizon debt.

        17.     Plaintiff disputed that he owed this debt, then told Defendant “[s]top calling.”

        18.     Regrettably, Plaintiff continues to receive phone calls from numbers leading back

to Defendant – including, (312)500-1830; (312)500-1937; and (312)626-6617.

        19.     To date, Plaintiff has not received anything in writing from Defendant regarding

this debt.

        20.     Defendant’s failure to advise Plaintiff – in writing – deprived Plaintiff notice of

Plaintiff’s rights under the law.



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        21.     In total, Defendant has placed no less than a dozen unconsented and unwanted

collection calls to Plaintiff’s cellular phone after Plaintiff requested that the calls cease.

        22.     Defendant’s phone calls resulted in aggravation that accompanies persistent and

unwanted phone calls, anxiety, distress, increased risk of personal injury resulting from distraction,

intrusion upon and occupation of Plaintiff’s cellular telephone capacity, invasion of privacy, loss

of concentration, nuisance, stress, and wasted time.

        23.     Concerned with having had her rights violated, Plaintiff sought counsel to ensure

that Defendant’s unlawful collection practices stopped.

        24.     Accordingly, Plaintiff is forced to expend energy and/or time consulting with

attorneys to put an end to Defendant’s unlawful collection practices.

                                     CLASS ALLEGATIONS

        25.     All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

        26.     Plaintiff brings this action pursuant to Fed. R. Civ. P. 23(b)(2) and 23(b)(3)

individually, and on behalf of all others similarly situated (the “Putative Classes”) defined as

follows:

        All persons throughout the United States (1) to whom Defendant placed, or caused
        to be placed, a call; (2) within the one year preceding the date of this complaint
        through the date of class certification; (3) in connection with the collection of a
        consumer debt; (4) after he/she requested that Defendant cease calls to his/her
        telephone number.

        27.     The following individuals are excluded from the Putative Classes: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, Defendant’s

subsidiaries, parents, successors, predecessors, and any entity in which Defendant or their parents

have a controlling interest and their current or former employees, officers and directors; (3)



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Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion from

the Putative Classes; (5) the legal representatives, successors or assigns of any such executed

persons; and (6) persons whose claims against Defendant have been fully and finally adjudicated

and/or released.

A.     Numerosity

       28.     Upon information and belief, the members of the Putative Classes are so numerous

that joinder of them is impracticable.

       29.     The exact number of the members of the Putative Classes is unknown to Plaintiff

at this time, and can be determined only through appropriate discovery.

       30.     The members of the Putative Classes are ascertainable because the classes are

defined by reference to objective criteria.

       31.     The members of the Putative Classes are identifiable in that their names, addresses

and telephone numbers can be identified in business records maintained by Defendant.

B.     Commonality and Predominance

       32.     There are many questions of law and fact common to the claims of Plaintiff and the

Putative Classes, and those questions predominate over any questions that may affect individual

members of the Putative Classes.

C.     Typicality

       33.     Plaintiff’s claims are typical of members of the Putative Classes because Plaintiff

and members of the Putative Classes are entitled to damages as result of Defendant’s conduct.

D.     Superiority and Manageability

       34.     This case is also appropriate for class certification as class proceedings are superior

to all other available methods for the efficient and fair adjudication of this controversy.



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        35.    The damages suffered by the individual members of the Putative Classes will likely

be relatively small, especially given the burden and expense required for individual prosecution.

        36.    By contrast, a class action provides the benefits of single adjudication, economies

of scale and comprehensive supervision by a single court.

        37.    Economies of effort, expense, and time will be fostered and uniformity of decisions

ensured.

E.      Adequate Representation

        38.    Plaintiff will adequately and fairly represent and protect the interests of the Putative

Classes.

        39.    Plaintiff has no interests antagonistic to those of the Putative Classes, and

Defendant has no defenses unique to Plaintiff.

        40.    Plaintiff has retained competent and experienced counsel in consumer class action

litigation.

                                 CLASS CLAIMS FOR RELIEF

                                         COUNT I:
                 Fair Debt Collection Practices Act (15 U.S.C. § 1692 et seq.)

        41.    All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

                                 Violation(s) of 15 U.S.C. § 1692d

        42.    Section 1692d provides:

        [a] debt collector may not engage in any conduct the natural consequence of which
        is to harass, oppress, or abuse any person in connection with the collection of a
        debt. Without limiting the general application of the foregoing, the following
        conduct is a violation of this section:




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               (5)      Causing a telephone to ring or engaging any person in telephone
                        conversation repeatedly or continuously with intent to annoy, abuse,
                        or harass any person at the called number.

15 U.S.C. § 1692d(5).

       43.     Defendant violated 15 U.S.C. § 1692d(5) by repeatedly or continuously calling

Plaintiff after being asked to stop. See Chiverton v. Federal Financial Group, Inc., 399 F. Supp.

2d 96 (D. Conn. 2005) (finding that repeated calls after the consumer had asked debt collector to

stop calling amounted to harassment).

       44.     The phone calls at issue were intended to be annoying, abusive, or harassing.

       45.     Plaintiff may enforce the provisions of 15 U.S.C. §§ 1692d(5) pursuant to section

k of the FDCPA (15 U.S.C. § 1692k) which provides "any debt collector who fails to comply with

any provision of [the FDCPA] with respect to any person is liable to such person in an amount

equal to the sum of -

       (1)     any actual damage sustained by such person as a result of such failure;

       (2)

               (A)      in the case of any action by an individual, such additional damages
                        as the court may allow, but not exceeding $1,000.00; or

       (3)     in the case of any successful action to enforce the foregoing liability, the
               costs of the action, together with reasonable attorney's fees as determined
               by the court.

       WHEREFORE, Plaintiff on behalf of himself and the members of the Putative Class,

requests the following relief:

       A.      an order granting certification of the proposed class, including the designation of

               Plaintiff as the named representatives, the appointment of the undersigned as Class

               Counsel, under the applicable provisions of Fed. R. Civ. P. 23;

       B.      a finding that Defendant violated 15 U.S.C. § 1692d(5);

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       C.      an order enjoining Defendant from further violation(s) of 15 U.S.C. § 1692d(5);

       D.      an award of any actual damages sustained by Plaintiff and the Members of the

               Putative Class as a result of Defendant’s violation(s);

       E.      an award of such additional damages to Plaintiff, as the Court may allow, but not

               exceeding $1,000;

       F.      an award of such amount as the Court may allow for all other class members, not

               to exceed the lesser of $500,000 or 1 per centum of the net worth of Defendant;

       G.      an award of costs of this action, together with reasonable attorney’s fees as

               determined by this Court; and

       H.      an award of such other relief as this Court deems just and proper.

                             INDIVIDUAL CLAIMS FOR RELIEF

                                        COUNT II:
                 Fair Debt Collection Practices Act (15 U.S.C. § 1692 et seq.)

       46.     All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

                                 Violation(s) of 15 U.S.C. § 1692g

       47.     Section 1692g(a) provides:

       (a) Within five days after the initial communication with a consumer in connection
       with the collection of any debt, a debt collector shall, unless the following
       information is contained in the initial communication or the consumer has paid the
       debt, send the consumer a written notice containing –

               (1)     the amount of the debt;

               (2)     the name of the creditor to whom the debt is owed;

               (3)     a statement that unless the consumer, within thirty days after receipt
                       of the notice, disputes the validity of the debt, or any portion thereof,
                       the debt will be assumed to be valid by the debt collector;


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               (4)      a statement that if the consumer notifies the debt collector in writing
                        within the thirty-day period that the debt or any portion thereof, is
                        disputed, the debt collector will obtain verification of the debt or a
                        copy of a judgment against the consumer and a copy of such
                        verification or judgment against the consumer and a copy of such
                        verification or judgment will be mailed to the consumer by the debt
                        collector; and

               (5)      a statement that, upon the consumer’s written request within the
                        thirty-day period, the debt collector will provide the consumer with
                        the name and address of the original creditor, if different from the
                        current creditor.

       48.     The disclosures set forth in 15 U.S.C. § 1692g(a), frequently referred to as the

“validation notice,” are required in the initial communications of all debt collection attempts.

       49.     The validation notice provisions were included by Congress to ensure that

consumers would receive notice of their legal rights.

       50.     Defendant violated 15 U.S.C. § 1692g(a) by failing to include the mandatory

validation notice as required by 15 U.S.C. § 1692g(a).

       51.     Plaintiff may enforce the provisions of 15 U.S.C. § 1692g(a), pursuant to section k

of the FDCPA (15 U.S.C. § 1692k) which provides "any debt collector who fails to comply with

any provision of [the FDCPA] with respect to any person is liable to such person in an amount

equal to the sum of -

       (1)     any actual damage sustained by such person as a result of such failure;

       (2)

               (A)      in the case of any action by an individual, such additional damages
                        as the court may allow, but not exceeding $1,000.00; or

       (3)     in the case of any successful action to enforce the foregoing liability, the
               costs of the action, together with reasonable attorney's fees as determined
               by the court.

       WHEREFORE, Plaintiff requests the following relief:


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        A.      a finding that Defendant violated 15 U.S.C. § 1692g(a);

        B.      an award of any actual damages sustained by Plaintiff as a result of Defendant’s

                violation(s);

        C.      an award of such additional damages, as the Court may allow, but not exceeding

                $1,000.00;

        D.      an award of costs of this action, together with reasonable attorney’s fees as

                determined by this Court; and

        E.      an award of such other relief as this Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

        Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of any and all issues in

this action so triable of right.

DATED: March 16, 2020                                         Respectfully submitted,

                                                              JOHN D. SYARTO

                                                              By: /s/ Joseph S. Davidson

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